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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEW JERSEY


     In re:                                                       Chapter 11

     FRANK THEATRES BAYONNE/SOUTH                                 Case No. 18-34808 (SLM)
     COVE, LLC, et al.,1
                                                                  Jointly Administered
                             Debtors.



                          SCHEDULE OF ASSETS AND LIABILITIES FOR
                            FRANK THEATRES SOUTHERN PINES, LLC
                                   CASE NO. 18-34837 (SLM)




 1
  The Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer identification number are as
 follows: Frank Theatres Bayonne/South Cove, LLC (3162); Frank Entertainment Group, LLC (3966); Frank
 Management LLC (0186); Frank Theatres, LLC (5542); Frank All Star Theatres, LLC (0420); Frank Theatres
 Blacksburg LLC (2964); Frank Theatres Delray, LLC (7655); Frank Theatres Kingsport LLC (5083); Frank Theatres
 Montgomeryville, LLC (0692); Frank Theatres Parkside Town Commons LLC (9724); Frank Theatres Rio, LLC
 (1591); Frank Theatres Towne, LLC (1528); Frank Theatres York, LLC (7779); Frank Theatres Mt. Airy, LLC (7429);
 Frank Theatres Southern Pines, LLC (2508); Frank Theatres Sanford, LLC (7475); Frank Theatres Shallotte, LLC
 (7548); Revolutions at City Place LLC (6048); Revolutions of Saucon Valley LLC (1135); Frank Entertainment Rock
 Hill LLC (0753); Frank Entertainment PSL, LLC (7033); Frank Hospitality Saucon Valley LLC (8570); Frank
 Hospitality York LLC (6617); and Galleria Cinema, LLC (2529).
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 LOWENSTEIN SANDLER LLP
 Kenneth A. Rosen, Esq.
 Joseph J. DiPasquale, Esq.
 Eric S. Chafetz, Esq.
 Michael Papandrea, Esq.
 One Lowenstein Drive
 Roseland, New Jersey 07068
 (973) 597-2500 (Telephone)
 (973) 597-2400 (Facsimile)

 Counsel to the Debtors and
 Debtors-in-Possession


                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY


 In re:                                                      Chapter 11

 FRANK THEATRES BAYONNE/SOUTH                                Case No. 18-34808 (SLM)
 COVE, LLC, et al.,1
                                                             Jointly Administered
                           Debtors.



     GLOBAL NOTES, METHODOLOGY AND SPECIFIC DISCLOSURES REGARDING
          THE DEBTORS’ SCHEDULES OF ASSETS AND LIABILITIES AND
                    STATEMENTS OF FINANCIAL AFFAIRS

         On December 19, 2018 (the “Petition Date”), the above-captioned debtors and debtors-in-
 possession (each a “Debtor,” and collectively, the “Debtors”) each filed a voluntary petition for
 relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the
 “Bankruptcy Code”), in the United States Bankruptcy Court for the District of New Jersey (the
 “Bankruptcy Court”). The Debtors’ chapter 11 cases (collectively, the “Chapter 11 Cases”) are
 being jointly administered under lead case number 18-34808 (SLM). The Debtors have prepared

 1
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 as follows: Frank Theatres Bayonne/South Cove, LLC (3162); Frank Entertainment Group, LLC (3966); Frank
 Management LLC (0186); Frank Theatres, LLC (5542); Frank All Star Theatres, LLC (0420); Frank Theatres
 Blacksburg LLC (2964); Frank Theatres Delray, LLC (7655); Frank Theatres Kingsport LLC (5083); Frank
 Theatres Montgomeryville, LLC (0692); Frank Theatres Parkside Town Commons LLC (9724); Frank Theatres Rio,
 LLC (1591); Frank Theatres Towne, LLC (1528); Frank Theatres York, LLC (7779); Frank Theatres Mt. Airy, LLC
 (7429); Frank Theatres Southern Pines, LLC (2508); Frank Theatres Sanford, LLC (7475); Frank Theatres Shallotte,
 LLC (7548); Revolutions at City Place LLC (6048); Revolutions of Saucon Valley LLC (1135); Frank
 Entertainment Rock Hill LLC (0753); Frank Entertainment PSL, LLC (7033); Frank Hospitality Saucon Valley LLC
 (8570); Frank Hospitality York LLC (6617); and Galleria Cinema, LLC (2529).

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 and filed their respective Schedules of Assets and Liabilities (collectively, the “Schedules”) and
 Statements of Financial Affairs (the “Statements” and, together with the Schedules, the
 “Schedules and Statements”) pursuant to section 521 of the Bankruptcy Code and Rule 1007 of
 the Federal Rules of Bankruptcy Procedure.

        These Global Notes, Methodology and Specific Disclosures Regarding the Debtors’
 Schedules of Assets and Liabilities and Statements of Financial Affairs (the “Global Notes”) are
 incorporated by reference in and comprise an integral part of the Schedules and Statements filed
 by each of the Debtors and should be referenced in connection with any review thereof.

         The Schedules and Statements do not purport to represent financial statements prepared
 in accordance with Generally Accepted Accounting Principles in the United States (“GAAP”),
 nor are they intended to be fully reconciled with the financial statements of each Debtor.
 Additionally, the Schedules and Statements contain unaudited information that is subject to
 further review and potential adjustment, and reflect the Debtors’ reasonable efforts to report the
 assets and liabilities of each Debtor on an unconsolidated basis. Except as otherwise noted, the
 information provided in the Schedules and Statements is as of the close of business on the
 Petition Date.

         In preparing the Schedules and Statements, the Debtors relied upon financial data derived
 from their books and records that was available at the time of such preparation. Although the
 Debtors have made reasonable efforts to ensure the accuracy and completeness of such financial
 information, inadvertent errors or omissions, as well as the discovery of conflicting, revised or
 subsequent information, may cause a material change to the Schedules and Statements.
 Accordingly, the Debtors reserve all of their rights to amend, supplement, or otherwise modify or
 alter any part of the Schedules and Statements as and to the extent the Debtors deem necessary or
 appropriate. Notwithstanding the foregoing, the Debtors shall not be required to update the
 Schedules and Statements.

                          Global Notes and Overview of Methodology

         1.     Reservation of Rights. Nothing contained in the Schedules and Statements shall
 constitute a waiver of the Debtors’ rights or an admission with respect to the Chapter 11 Cases,
 including any issues involving substantive consolidation, equitable subordination, defenses
 and/or causes of action arising under the provisions of chapter 5 of the Bankruptcy Code and any
 other relevant non-bankruptcy laws.

          2.     Net Book Value of Assets. It would be prohibitively expensive, unduly
 burdensome, and an inefficient use of estate assets for the Debtors to obtain current market
 valuations for all of their assets. Accordingly, unless otherwise indicated, the Schedules and
 Statements, including but not limited to assets listed in Schedule A/B and the collateral in
 Schedule D reflect net book values of each asset as of the Petition Date as listed in the Debtors’
 accounting books and records, rather than current market values of such assets. The Debtors
 reserve all of their rights with respect to the values, amounts and characterizations of the assets
 listed in the Schedules and Statements.




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         3.     Liabilities. The Debtors allocated liabilities between the prepetition and post-
 petition periods based on the information and research conducted in connection with the
 preparation of the Schedules and Statements. As additional information becomes available and
 further research is conducted, the allocation of liabilities between the prepetition and post-
 petition periods may change. Accordingly, the Debtors reserve all of their rights to amend,
 supplement or otherwise modify the Schedules and Statements as is necessary and appropriate.

                The liabilities listed on the Schedules do not reflect any analysis of claims under
 section 503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all of their rights to
 dispute or challenge the validity of any asserted claims under section 503(b)(9) of the
 Bankruptcy Code or the characterization of the structure of any such transaction or any document
 or instrument related to any creditor’s claim.

         4.     Causes of Action. Despite reasonable efforts to identify all known assets, the
 Debtors may not have identified or set forth all of their causes of action (filed or potential) as
 assets in the Schedules and Statements. The Debtors reserve all of their rights with respect to
 any causes of action they may have, whether or not listed as assets in the Schedules and
 Statements, and neither these Global Notes nor the Schedules and Statements shall be deemed a
 waiver of any such causes of action.

        5.     Estimates. To close the books and records of the Debtors as of the Petition Date
 for purposes of the Schedules and Statements, the Debtors were required to make certain
 estimates and assumptions that affect the reported amounts of their assets, liabilities, revenue,
 and expenses.

         6.      Claims Description. Schedules D, E and F permit each of the Debtors to
 designate a claim as “disputed,” “contingent” and/or “unliquidated.” Any failure to designate a
 claim on a given Debtor’s Schedules and Statements as “disputed,” “contingent” or
 “unliquidated” does not constitute an admission by that Debtor that such amount is not
 “disputed,” “contingent” or “unliquidated,” or that such claim is not subject to objection. The
 Debtors reserve all of their rights to dispute, or assert offsets or defenses to, any claim reflected
 on their respective Schedules and Statements on any grounds, including as to amount, priority,
 secured or unsecured status or classification. Additionally, the Debtors expressly reserve all of
 their rights to subsequently designate such claims as “disputed,” “contingent” or “unliquidated”
 by filing and serving an appropriate amendment. Moreover, listing a claim does not constitute
 an admission of liability by the Debtors.

          7.      Paid Claims. The Debtors have authority to pay certain outstanding prepetition
 liabilities pursuant to various Bankruptcy Court orders. Accordingly, certain outstanding
 liabilities may have been reduced by post-petition payments made on account of prepetition
 liabilities. To the extent the Debtors pay any of the claims listed in the Schedules and Statements
 pursuant to any orders entered by the Bankruptcy Court, the Debtors reserve all of their rights to
 amend or supplement the Schedules and Statements or take other action as is necessary and
 appropriate to avoid over-payment of or duplicate payments for any such liabilities.




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         8.     Property and Equipment. Nothing in the Schedules or Statements (including,
 without limitation, the failure to list leased property or equipment as owned property or
 equipment) is, or shall be construed as, an admission as to the determination of legal status of
 any lease (including whether any lease is a true lease or a financing arrangement), and the
 Debtors reserve all of their rights with respect to such issues. Property and equipment listed in
 the Schedules and Statements is presented without consideration of any liens that may attach (or
 have attached) to such property and equipment.

         9.      Insiders. Where the Schedules and Statements require information regarding
 “insiders” and/or officers and directors, the Debtors have attempted to include therein the
 Debtors’ (a) “directors” (or persons in similar positions) and (b) employees that may be, or may
 have been during the relevant period, “officers,” as such terms are defined in the Bankruptcy
 Code or other applicable law. The listing of a party as an insider is not intended to be, nor
 should it be, construed as a legal characterization of such party as an insider and does not act as
 an admission of any fact, claim, right, or defense, and all such rights, claims, and defenses are
 hereby expressly reserved. With respect to any person listed as an insider, the Debtors do not
 take any position with respect to: (a) such person’s influence over the control of the Debtors; (b)
 the management responsibilities or functions of such individual; (c) the decision-making or
 corporate authority of such individual; or (d) whether such individual could successfully argue
 that he or she is not an “insider” under applicable law, including the federal securities laws, or
 with respect to any theories of liability or for any other purpose.

         10.     Intellectual Property Rights. Exclusion of certain intellectual property from the
 Schedules and Statements shall not be construed as an admission that such intellectual property
 rights have been abandoned, terminated, assigned, expired by their terms, or otherwise
 transferred pursuant to a sale, acquisition, or other transaction. Conversely, inclusion of certain
 intellectual property shall not be construed to be an admission that such intellectual property
 rights have not been abandoned, terminated, assigned, expired by their terms or otherwise
 transferred pursuant to a sale, acquisition or other transaction.

        11.    Excluded Liabilities. The Debtors have excluded from the Schedules and
 Statements certain accrued liabilities, including accrued salaries, paid time off (PTO) and
 extended sick leave for employees, and liabilities that have been paid pursuant to orders of the
 Bankruptcy Court.

        12.     Employee Addresses. Due to privacy concerns, the Debtors have not included
 addresses in the Schedules and Statements for employees and former employees or have used the
 Debtors’ corporate address.

        13.    Unliquidated Claim Amounts. Claim amounts that could not be fairly quantified
 by the Debtors are scheduled as “unknown.”

          14.    Totals. All totals that are included in the Schedules and Statements represent
 totals of the known liquidated amounts for the individual schedule for which they are listed. To
 the extent there are unknown or undetermined amounts, the actual total may be different than the
 listed total.



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         15.     Specific Notes. These Global Notes are in addition to any the specific notes set
 forth in the individual Schedules and Statements. Disclosure of information in one Schedule, the
 Statements, an exhibit, or continuation sheet, even if incorrectly placed, shall be deemed to be
 disclosed in the correct Schedule, the Statements, or any exhibits or continuation sheets.

         16.    Global Notes Control. In the event that the Schedules and Statements differ from
 the foregoing Global Notes, the Global Notes shall control.

                       Specific Disclosures with Respect to the Schedules

         17.    Schedule A/B 7. The Bankruptcy Court, pursuant to the Final Order Under
 Section 366 of the Bankruptcy Code (A) Prohibiting Utility Providers from Altering, Refusing, or
 Discontinuing Service, (B) Deeming Utilities Adequately Assured of Future Performance, and
 (C) Establishing Procedures for Resolving Requests for Additional or Different Adequate
 Assurance of Payment [Docket No. 116] (the “Utilities Order”), authorized the Debtors to
 provide (i) adequate assurance of payment for post-petition utility services, including adequate
 assurance deposits held by the Debtors in the amount of $48,019.14 (and certain other deposits
 held by utility providers subject to individual agreements with such utility providers), to be
 maintained as provided for in the Utilities Order. Such deposits, which in accordance with the
 Utilities Order were established subsequent to the Petition Date, are not listed on Schedule A/B
 7, which reflects information as of the Petition Date.

        18.     Schedule A/B 25. The amount listed represents estimated receipts of inventory by
 the Debtors in the 20 days prior to the Petition Date based on the vendor invoice date. Nothing
 on Schedule A/B 25, however, is intended or shall be deemed to be a determination, or impair,
 prejudice, waive or otherwise affect the Debtors’ rights, with respect to any asserted claims
 under section 503(b)(9) of the Bankruptcy Code, and the Debtors reserve all of their rights to
 dispute or challenge the validity of any such Claims. The Debtors have estimated that the book
 value and current value of inventory received within 20 days of the Petition Date is $114,764.57.
 However, because the Debtors cannot determine this estimate on a Debtor by Debtor basis, the
 individual schedules for each of the Debtors list this amount as “unknown.”

         19.     Schedule D — Creditors Holding Secured Claims. Except as otherwise agreed
 pursuant to a stipulation or order entered by the Bankruptcy Court, the Debtors reserve their
 rights to dispute or challenge the validity, perfection or immunity from avoidance of any lien
 purported to be granted or perfected in any specific asset of a secured creditor listed on Schedule
 D of each Debtor. Moreover, although the Debtors have scheduled claims of various creditors as
 secured claims, the Debtors reserve all of their rights to dispute or challenge the secured nature
 of any such creditor’s claim or the characterization of the structure of any such transaction or any
 document or instrument related to such creditor’s claim. The descriptions and the value of the
 collateral provided in Schedule D are solely intended to be a summary—and not an admission—
 of liability and/or valuation. The value of the collateral provided in Schedule D reflects net book
 values of each asset as of the Petition Date as listed in the Debtors’ accounting books and
 records, rather than current market values of such assets.




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                Reference to the applicable loan agreements and related documents is necessary
 for a complete description of the collateral and the nature, extent and priority of liens. Nothing
 in these Global Notes or the Schedules and Statements shall be deemed a modification or
 interpretation of the terms of such agreements. Except as specifically stated herein utility
 companies and other parties that may hold security deposits have not been listed on Schedule D.
 The Debtors reserve all of their rights to amend Schedule D to the extent that the Debtors
 determine that any claims associated with such agreements should be reported on Schedule D.
 Nothing herein shall be construed as an admission by the Debtors of the legal rights of the
 claimant or a waiver of the Debtors’ rights to recharacterize or reclassify such claims or
 agreements.

        20.    Schedule E/F — Creditors Holding Unsecured Priority Claims. The Bankruptcy
 Court has authorized the Debtors, in their discretion, to pay certain prepetition liabilities. For
 example, the Bankruptcy Court has entered the following orders:

                   Final Order (I) Authorizing, But Not Directing, the Debtors to Honor Certain
                    Prepetition Obligations to Customers and to Continue, Renew, Replace,
                    Modify, Implement, or Terminate Customer Programs in the Ordinary Course
                    of Business, and (II) Authorizing and Directing Financial Institutions to
                    Honor All Related Checks and Electronic Payment Requests [Docket No.
                    117];

                   Final Order (I) Authorizing the Debtors to Pay Certain Prepetition Taxes and
                    Fees in the Ordinary Course of Business and (II) Authorizing Banks and
                    Financial Institutions to Honor and Process Checks and Transfers Related
                    Thereto [Docket No. 115];

                   Final Order (I) Authorizing Payment of Prepetition Claims of Certain Critical
                    Vendors Pursuant to 11 U.S.C. §§ 105(a), 363(b), 364, 1107(a), and 1108 and
                    Fed. R. Bankr. P. 6003 and 6004, and (II) Authorizing Banks to Honor and
                    Process Checks and Electronic Transfer Requests Related Thereto [Doc. No.
                    118];

                   Final Order (I) Authorizing Debtors to (A) Continue Prepetition Insurance
                    Programs, (B) Pay Any Prepetition Premiums and Related Obligations, and
                    (C) Renew or Enter Into New Insurance Arrangements; and (II) Granting
                    Related Relief [Doc. No. 114]; and

                   Final Order (I) Authorizing But Not Directing the Debtors to (A) Pay
                    Prepetition Wages, Salaries, and Related Obligations, (B) Pay and Remit
                    Prepetition Payroll Taxes and Other Deductions to Third Parties, and
                    (C) Honor Employee Benefit Programs in the Ordinary Course of Business;
                    (II) Authorizing and Directing Banks to Honor Checks and Transfers for
                    Payment of Prepetition Employee Obligations; and (III) Granting Related
                    Relief [Docket No. 113]



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               To the extent that applicable Claims have been paid under one or more of the
 foregoing orders, such Claims may not be included in Schedule E/F.

                The Debtors’ analysis of potential priority claims is ongoing and may take
 significant time to complete. Accordingly, amounts on Schedule E/F have been classified as non-
 priority pending conclusion of that analysis. The listing of any claim on Schedule E/F does not
 constitute an admission by the Debtors that such claim is entitled to priority treatment under
 section 507 of the Bankruptcy Code. The Debtors reserve their right to dispute the priority status
 of any claim on any basis.

                Although the Debtors have made a reasonable attempt to set forth their unsecured
 obligations on Schedule F, the liabilities identified therein are derived from the Debtors’ books
 and records, which may or may not be completely accurate. Accordingly, the actual amount of
 claims against the Debtors may vary from the represented liabilities. Parties in interest should
 not accept that any listed liability necessarily reflects the correct amount of any unsecured
 creditor’s allowed claim or the correct amount of all unsecured claims. Similarly, parties in
 interest should not anticipate that recoveries in these Chapter 11 Cases will reflect the
 relationship of aggregate asset values to aggregate liabilities set forth in the Schedules and
 Statements.

                Parties in interest should consult their own professionals and/or advisors with
 respect to pursuing a claim. Although the Debtors and their professionals have generated
 financials the Debtors believe to be reasonable, actual liabilities may deviate from the Schedules
 and Statements because of certain events that may occur during the Chapter 11 Cases.

                The claims listed on Schedule E/F arose or were incurred on various dates. In
 certain instances, the date on which a claim arose may be unknown or subject to dispute.
 Although the Debtors have made reasonable efforts to determine the date upon which each of the
 claims listed on Schedule F was incurred or arose, fixing that date for each claim in Schedule F
 would be unduly burdensome and cost prohibitive and, therefore, the Debtors have not listed a
 date for each claim listed on Schedule E/F.

               Schedule E/F may include prepetition amounts owing to counterparties to
 executory contracts and unexpired leases. Such prepetition amounts, however, may be paid in
 connection with the assumption or assumption and assignment of an executory contract or
 unexpired lease.

                Schedule E/F does not include potential rejection damages claims, if any, of
 counterparties to executory contracts or unexpired leases that may be rejected by the Debtors.

         21.   Schedule G - Executory Contracts and Unexpired Leases. Although the Debtors’
 existing books, records and financial systems have been relied upon to identify and schedule
 executory contracts and unexpired leases and diligent efforts have been made to ensure the
 accuracy of each Debtor’s Schedule G, inadvertent errors, omissions or over-inclusion may have
 occurred. Reference to any contract or lease on Schedule G includes any and all amendments,




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 addendums, supplements or restatements to such contract or lease, whether or not specifically
 referred or separately listed thereon.

                 The Debtors’ listing of a contract or agreement on Schedule G does not constitute
 an admission that such contract or agreement is an executory contract or unexpired lease within
 the meaning of section 365 of the Bankruptcy Code or that such contract or agreement was in
 effect on the Petition Date or is valid or enforceable. The Debtors hereby reserve all of their
 rights to dispute the validity, status, or enforceability of any contracts, agreements, or leases set
 forth on Schedule G and to amend Schedule G at any time to remove any contract or lease.

                Certain of the leases and contracts listed on Schedule G may contain renewal
 options, guarantees of payment, options to purchase, rights of first refusal, and other
 miscellaneous rights. Such rights, powers, duties and obligations may not be set forth separately
 on Schedule G.       In addition, the Debtors may have entered into various other types of
 agreements in the ordinary course of their business, such as easements, rights of way,
 subordination agreements, non-disturbance agreements, supplemental agreements, letter
 agreements, title agreements and confidentiality agreements. Such agreements may not be set
 forth in Schedule G and certain of the agreements may not have been memorialized and could be
 subject to dispute. Executory agreements that are oral in nature have not been included on
 Schedule G. The Debtors reserve all of their rights with respect to all such agreements.

                 Certain of the contracts and leases listed on Schedule G may consist of several
 parts, including purchase orders, amendments, restatements, waivers, letters and other documents
 that may not be listed on Schedule G or that may be listed as a single entry. The Debtors
 expressly reserve their rights to challenge whether such related materials constitute an executory
 contract, a single contract or agreement or multiple, severable or separate contracts.

                 The Debtors reserve all of their rights to dispute or challenge the characterization
 of the structure of any transaction or any document or instrument related to a creditor’s claim.

               The Debtors may be party to certain agreements that have expired by their terms.
 Out of an abundance of caution, the Debtors may have listed such agreements on Schedule G.
 The Debtors’ inclusion of such contracts or agreements on Schedule G is not an admission that
 any such contract or agreement is an executory contract or unexpired lease.

                Moreover, the Debtors have not necessarily set forth executory contracts and
 unexpired leases as assets in the Schedules and Statements, even though these contracts and
 leases may have some value to the Debtors’ estates. The Debtors’ executory contracts and
 unexpired leases have been set forth in Schedule G. The Debtors’ rejection of executory
 contracts and unexpired leases may result in the assertion of rejection damage claims; the
 Schedules and Statements do not reflect any claims for rejection damages. The Debtors reserve
 the right to make any arguments and objections with respect to the assertion of any such claims.

                In some cases, the same supplier or provider may appear multiple times in
 Schedule G. Multiple listings, if any, reflect distinct agreements between the Debtors and such
 supplier or provider.



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               Omission of a contract or agreement from Schedule G does not constitute an
 admission that such omitted contract or agreement is not an executory contract or unexpired
 lease. The Debtors’ rights under the Bankruptcy Code with respect to any such omitted contracts
 or agreements are not impaired by the omission of those contracts from Schedule G. The
 Debtors reserve the right to amend Schedule G at any time to add additional contracts or
 agreements.

         22.    Schedule H - Co-Debtors. For purposes of Schedule H, the Debtors that are either
 the principal obligors or guarantors under the prepetition debt facilities are listed as Co-Debtors
 on Schedule H. The Debtors may not have identified certain guarantees associated with the
 Debtors’ executory contracts, unexpired leases, secured financings, debt instruments and other
 such agreements. The Debtors reserve all of their rights to amend the Schedules to the extent that
 additional guarantees are identified or such guarantees are discovered to have expired or be
 unenforceable.

                In the ordinary course of their businesses, the Debtors may be involved in pending
 or threatened litigation. These matters may involve multiple plaintiffs and defendants, some or
 all of whom may assert cross-claims and counter-claims against other parties. Because all such
 claims are contingent, disputed, or unliquidated, such Claims have not been set forth individually
 on Schedule H. Litigation matters can be found on each Debtor’s Schedule E/F and Statement 7,
 as applicable.

                      Specific Disclosures with Respect to the Statements

          22.    Statement 4. As per the indication in Statement 4, any payments or transfers
 listed in Statement 3 are not repeated in Statement 4. Additionally, any payments or transfers that
 were identified in Statement 30 may not be repeated in Statement 4.

         23.    Statement 7. Statement 7 includes only those legal disputes and administrative
 proceedings that are formally recognized by an administrative, judicial, or other adjudicative
 forum. The Debtors dispute any liability with respect to the matters included in Statement 7, and
 Statement 7 shall not be construed as an admission by the Debtors of any liability with respect to
 any of the legal disputes or administrative proceedings identified therein.

         24.     Statement 10. The Debtors occasionally incur losses for a variety of reasons,
 including theft and property damage. The Debtors, however, may not have records of all such
 losses as to the extent such losses do not have a material impact on the Debtors’ business or are
 not reported for insurance purposes.

         25.    Statement 26d. During the two years immediately preceding the Petition Date,
 the Debtors have provided financial statements in the ordinary course of their business to various
 parties, including secured lenders, government entities and other interested parties, through
 online data rooms and other diligence procedures.




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        26.    Statement 30. The Debtors have included a more comprehensive response to
 Statement 30 in Statement 3.




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                                                                      Document    Page 12 of 25
 Fill in this information to identify the case:

 Debtor name            Frank Theatres Southern Pines, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF NEW JERSEY

 Case number (if known)               18-34837
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $            92,983.07

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        4,773,786.93

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        4,866,770.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       39,082,182.08


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            59,920.92

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$                    0.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         39,142,103.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Frank Theatres Southern Pines, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)         18-34837
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                              $8,009.78



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Bank of America                                         Local Depository                4055                                             $0.00




           3.2.     BB&T                                                    Local Depository                1005                                    $96,417.52



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                   $104,427.30
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Utilities                                                                                                                       $10,710.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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           Case 18-34808-SLM                        Doc 199 Filed 01/25/19 Entered 01/25/19 21:30:30                                    Desc Main
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 Debtor           Frank Theatres Southern Pines, LLC                                                  Case number (If known) 18-34837
                  Name



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Sony Electronics (Prepayment on equipment)                                                                                    $15,601.68




 9.        Total of Part 2.                                                                                                                   $26,311.68
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                 24,353.03   -                                    0.00 = ....                 $24,353.03
                                              face amount                               doubtful or uncollectible accounts




           11b. Over 90 days old:                                         0.00   -                                  0.00 =....                            $0.00
                                              face amount                               doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                                   $24,353.03
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last               Net book value of         Valuation method used    Current value of
                                                      physical inventory             debtor's interest         for current value        debtor's interest
                                                                                     (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Concession Inventory                       11/30/2018                              $10,913.38       FIFO                               $10,913.38



 23.       Total of Part 5.                                                                                                                   $10,913.38
           Add lines 19 through 22. Copy the total to line 84.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                           page 2
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           Case 18-34808-SLM                        Doc 199 Filed 01/25/19 Entered 01/25/19 21:30:30                            Desc Main
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 Debtor         Frank Theatres Southern Pines, LLC                                            Case number (If known) 18-34837
                Name

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value Unknown - See Global Notes Valuation method      FIFO               Current Value Unknown - See Global Notes

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Leasehold Improvements - Sandhills                                      $4,050,862.65     Historical Cost                   $4,050,862.65



 40.       Office fixtures
           Soft Costs, Sandhills                                                      $67,538.99     Historical Cost                      $67,538.99


           Furniture & Fixtures                                                      $430,261.58     Historical Cost                     $430,261.58



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Equipment                                                                  $59,118.32     Historical Cost                      $59,118.32



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                           $4,607,781.54
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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 Debtor         Frank Theatres Southern Pines, LLC                                            Case number (If known) 18-34837
                Name

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used    Current value of
            property                                      extent of           debtor's interest        for current value        debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1.
                     Vacant Land in
                     Ranson, WV                           100% Owner                  $92,983.07       Historical Cost                     $92,983.07




 56.        Total of Part 9.                                                                                                             $92,983.07
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 4
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                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $104,427.30

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $26,311.68

 82. Accounts receivable. Copy line 12, Part 3.                                                                     $24,353.03

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $10,913.38

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                      $4,607,781.54

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                          $92,983.07

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $4,773,786.93            + 91b.               $92,983.07


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $4,866,770.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 5
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 Fill in this information to identify the case:

 Debtor name         Frank Theatres Southern Pines, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)             18-34837
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       BENEFIT STREET
 2.1   PARTNERS DEBT FUND IV
       LP                                             Describe debtor's property that is subject to a lien             $16,522,060.35                        $0.00
       Creditor's Name                                Senior debt/lien on company assets & 2nd
       9 WEST 57TH STREET                             lien
       SUITE 4920
       NEW YORK, NY 10019
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       6/20/2014                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       ELM PARK CREDIT
 2.2                                                                                                                     $3,361,109.39                       $0.00
       OPPORTUNITIES                                  Describe debtor's property that is subject to a lien
       Creditor's Name                                Senior debt/lien on company assets
       FUND (US), L.P.
       2101 CEDAR SPRINGS RD
       STE 700
       DALLAS, TX 75204
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       6/20/2014                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 3
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 Debtor       Frank Theatres Southern Pines, LLC                                                       Case number (if know)       18-34837
              Name


        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



        ELM PARK CREDIT
 2.3                                                                                                                     $14,375,687.27                   $0.00
        OPPORTUNITIES FUND                            Describe debtor's property that is subject to a lien
        Creditor's Name                               Senior debt/lien on company assets
        (CANADA), L.P.
        199 BAY STREET, 5300
        COMMERCE COURT WEST
        TORONTO, ON, M5L 1B9
        CANADA
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        6/20/2014                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



        SEACOAST CAPITAL
 2.4                                                                                                                       $4,823,325.07                  $0.00
        PARTNERS III, LP                              Describe debtor's property that is subject to a lien
        Creditor's Name                               2nd lien on company assets
        55 FERNCROFT RD STE
        110
        DANVERS, MA 01923
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        9/15/2017                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.




                                                                                                                               $39,082,182.08
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.


 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1

Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 3
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 Debtor       Frank Theatres Southern Pines, LLC                                                 Case number (if know)         18-34837
              Name

 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         Frank Theatres Southern Pines, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)           18-34837
                                                                                                                                                              Check if this is an
                                                                                                                                                              amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                             12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                                Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                   $59,920.92          $59,920.92
           MOORE COUNTY TAX                                          Check all that apply.
           DEPARTMENT                                                   Contingent
           P.O. BOX 457                                                 Unliquidated
           Carthage, NC 28327-0457                                      Disputed

           Date or dates debt was incurred                           Basis for the claim:
           PROPERTY TAX
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
     3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
        out and attach the Additional Page of Part 2.
 3.1    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.
                                                                                       Contingent
                                                                                       Unliquidated
           Date or dates debt was incurred
                                                                                       Disputed
           Last 4 digits of account number
                                                                                   Basis for the claim:

                                                                                   Is the claim subject to offset?           No     Yes


 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                          On which line in Part1 or Part 2 is the              Last 4 digits of
                                                                                                             related creditor (if any) listed?                    account number, if
                                                                                                                                                                  any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                                  Total of claim amounts

Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                                page 1 of 2
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 5a. Total claims from Part 1                                                                       5a.       $              59,920.92
 5b. Total claims from Part 2                                                                       5b.   +   $                   0.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                59,920.92




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                   Page 2 of 2
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 Debtor name         Frank Theatres Southern Pines, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)         18-34837
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or                   SANDHILLS LOCATION
             lease is for and the nature of               LEASE, DATED
             the debtor's interest                        6/15/2012

                  State the term remaining                13 YEARS                  ENTERTAINMENT PROPERTIES TRUST
                                                                                    909 WALNUT STREET
             List the contract number of any                                        SUITE 200
                   government contract                                              KANSAS CITY, MO 64106


 2.2.        State what the contract or                   CAPEX/ESCROW
             lease is for and the nature of               AGREEMENT ON
             the debtor's interest                        SANDHILLS
                                                          LOCATION, DATED
                                                          7/13/2018
                  State the term remaining                NO TERM                   ENTERTAINMENT PROPERTIES TRUST
                                                                                    909 WALNUT STREET
             List the contract number of any                                        SUITE 200
                   government contract                                              KANSAS CITY, MO 64106


 2.3.        State what the contract or                   PEST CONTROL
             lease is for and the nature of               SERVICES, DATED
             the debtor's interest                        1/10/2017

                  State the term remaining                MONTH-TO-MONTH
                                                                                    STATE PEST CONTROL INC.
             List the contract number of any                                        PO BOX 600730
                   government contract                                              JACKSONVILLE, FL 32260-0730




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Frank Theatres Southern Pines, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)         18-34837
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 1
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       Case 18-34808-SLM                    Doc 199 Filed 01/25/19 Entered 01/25/19 21:30:30                                     Desc Main
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Fill in this information to identify the case:

Debtor name         Frank Theatres Southern Pines, LLC

United States Bankruptcy Court for the:     DISTRICT OF NEW JERSEY

Case number (if known)    18-34837
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       January 25, 2019                X /s/ Christopher Lang
                                                           Signature of individual signing on behalf of debtor

                                                            Christopher Lang
                                                            Printed name

                                                            Chief Restructuring Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
